Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 1 of 8 Page ID #:680




                        Exhibit A
       Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 2 of 8 Page ID #:681
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Central District
                                                        __________         of of
                                                                    District  California
                                                                                 __________
                       Erica Reiners, et al.,
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No. 2:20-cv-06587-SB-ADS
                Chou Team Realty, LLC, et al.,
                                                                               )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                    Sales Speek, Inc.

                                                        (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:
           See attached Addendum A.


  Place: The Aftergood Law Firm, 1880 Century Park East Suite                            Date and Time:
          200, Los Angeles, CA 90067, or
          tsmith@woodrowpeluso.com                                                                            09/09/2021 5:00 pm

      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        08/09/2021

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                     /s/ Taylor T. Smith
                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Erica Reiners                                                            , who issues or requests this subpoena, are:
Taylor T. Smith, tsmith@woodrowpeluso.com, Woodrow & Peluso, LLC, 3900 E. Mexico Ave., Suite 300, Denver, CO
80210; Tel: 720-907-7628
                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
      Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 3 of 8 Page ID #:682
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:20-cv-06587-SB-ADS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
      Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 4 of 8 Page ID #:683
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 5 of 8 Page ID #:684




              ADDENDUM A TO SUBPOENA TO PRODUCE DOCUMENTS
                           TO SALES SPEEK, INC.

 Please produce the following documents for inspection and copying on or before September 9,
 2021. To the extent that YOU object to any of the below requests on the basis of privilege, YOU
 must provide a privilege log and produce any and all non-privileged documents. Defined terms
 need not be capitalized to retain their defined meanings.

    1.      All DOCUMENTS sufficient to IDENTIFY YOUR complete relationship with each
            of the DEFENDANTS in this action, including all contracts, agreements, and
            communications.

    2.      All DOCUMENTS sufficient to IDENTIFY YOUR complete relationship with any
            STUDENT LOAN ENTITY, including all contracts, agreements, and
            communications.

    3.      All communications with any PERSON regarding LEND TECH or the procurement
            of CONSUMER REPORTS, including all email communications.

    4.      All communications with any PERSON relating to any STUDENT LOAN ENTITY,
            including all email communications.

    5.      All DOCUMENTS sufficient to IDENTIFY all CONSUMER REPORTS that were
            obtained through LEND TECH’S EXPERIAN ACCOUNT during the RELEVANT
            TIME PERIOD.

    6.      All DOCUMENTS sufficient to IDENTIFY all PERSONS, including the total
            number of such PERSONS, whose CONSUMER REPORTS were obtained through
            LEND TECH’S EXPERIAN ACCOUNT during the RELEVANT TIME PERIOD.

    7.      All DOCUMENTS sufficient to IDENTIFY YOUR involvement and role in the
            procurement and use of CONSUMER REPORTS from LEND TECH’S EXPERIAN
            ACCOUNT.

    8.      All DOCUMENTS sufficient to IDENTIFY YOUR complete business purpose.

    9.      All DOCUMENTS sufficient to IDENTIFY all payments or other things of value or
            consideration that YOU received from any PERSON, entity, or activity related to the
            use of CONSUMER REPORTS procured through LEND TECH’S EXPERIAN
            ACCOUNT, including any payments from any STUDENT LOAN ENTITY.

    10.     All DOCUMENTS sufficient to IDENTIFY YOUR FINANCIAL STATEMENTS
            and tax returns for the prior four years.

    11.     All DOCUMENTS sufficient to IDENTIFY any and all communications between
            YOU and any PERSON regarding PLAINTIFF, this lawsuit, or the underlying
Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 6 of 8 Page ID #:685




            allegations set forth in the Complaint.

                                          DEFINITIONS

    1. "CFPB" means and refers to the Consumer Financial Protection Bureau.

    2. "CFPB CASE" means and refers to the Consumer Financial Protection Bureau's
       enforcement action styled Bureau of Consumer Financial Protection v. Chou Team
       Realty, LLC, et al., Case No. 8:20-cv-00043-SB-ADS (C.D. Cal. filed January 9, 2020),
       including any pre-suit investigation and/or investigative hearings.

    3. "CHOU" means and refers to the defendant in this case, Thomas Chou.

    4. "COMPLAINT" means and refers to the Class Action Complaint filed in this lawsuit on
       July 23, 2020 (Dkt. 1) and any subsequent Complaint filed in this litigation.

    5. "CONSUMER REPORT" shall have the same definition as expressed in 15 U.S.C. §
       1681a(d), et seq.

    6. "COWELL" means and refers to the defendant in this case, Sean Cowell.

    7. “DEFENDANTS” means and refers to the defendants in this action, Lend Tech Loans,
       Inc., Chou Team Realty, LLC d/b/a MonsterLoans, Thomas Chou, Sean Cowell, Mikael
       Van Loon, Eduardo Martinez, Jawad Nesheiwat, and any subsequent PERSONS added as
       defendants to the COMPLAINT or any subsequent or amended COMPLAINT.

    8. “DOCUMENTS” means and refers to writings, contracts, manuals, papers, drawings,
       graphs, diagrams, maps, audits and audit results, records, reports, investigations, charts,
       studies, photographs, sound recordings, images, computer programs, letters, ESI, emails,
       text messages, contracts, spreadsheets, agreements, data, databases, and any and all other
       data or data compilations, including without limitation all ESI, Excel files, screen shots,
       proof of backups, data or other reporting data—stored in any medium from which
       information can be obtained.

    9. “FINANCIAL STATEMENTS” means and refers to written reports that convey the
       financial activities and conditions of a business or entity, including but not limited to
       income statements, balance sheets, statements of cash flows, and bank statements.

    10. “IDENTIFY” shall mean the following:

       A.      when referring to a person, means to produce a table, spreadsheet or report, or
               other sufficient documents to specify the person’s full name, present or last
               known address, telephone number, email address;

       B.      when referring to documents, means to provide documents showing the (i) type of
               document; (ii) general subject matter; (iii) date of the document and period of use;
Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 7 of 8 Page ID #:686




               and (iv) author(s), addressee(s) and recipient(s); and

       C.      when referring to a communication, means to give documents showing the type of
               communication (i.e., telephone discussion, email, face-to-face, etc.), the name and
               present address of each person present during the communication or who
               otherwise viewed or heard the communication, and to state the subject matter of
               the communication and the date when it occurred.

    11. “LEND TECH” means Defendant Lend Tech Loans, Inc., incorporated and existing
        under the laws of the State of California with its principal place of business located at
        1851 E. First St., #810, Santa Ana, California 92705, and for the purposes of this
        discovery includes any of its present or former directors, managers, employees, agents,
        corporate parents, subsidiaries, divisions, subdivisions, affiliates, predecessors,
        successors, or joint ventures.

    12. “LEND TECH’S EXPERIAN ACCOUNT” means and refers to any account that Lend
        Tech had access to or utilized to obtain Consumer Reports and/or prescreened consumer
        reports from Experian, including Experian’s iScreen Product, which enables Experian
        clients to order and access prescreened consumer reports.

    13. "MARTINEZ" means and refers to the defendant in this case, Eduardo "Ed" Martinez.

    14. "MONSTERLOANS" means Defendant Chou Team Realty, LLC d/b/a MonsterLoans,
        incorporated and existing under the laws of the State of California with its principal place
        of business located at 25391 Commercentre Dr., Suite 100, Lake Forest, California
        92630, and for the purposes of this discovery includes any of its present or former
        directors, managers, employees, agents, corporate parents, subsidiaries, divisions,
        subdivisions, affiliates, predecessors, successors, or joint ventures.

    15. “NESHEIWAT” means and refers to the defendant in this case, Jawad Nesheiwat.

    16. “PERSON” means any natural person or any business, legal, quasi-governmental or
        governmental entity or association.

    17. “PLAINTIFF” means the Plaintiff in this action, Erica Reiners, and any subsequent
        PERSONS added as plaintiffs to the Complaint or any subsequent or amended complaint.

    18. "STUDENT LOAN ENTITY" or "STUDENT LOAN ENTITIES" means and refers to
        any Person or entity or association or other organization that was involved in the
        procurement, receipt, or use of consumer reports (or the information contained therein)
        that were obtained through the Lend Tech Experian Account, including all entities that
        solicited consumers to purchase any student loan related fee-based product or service.
        This definition includes, but is not limited to, Assure Direct Services, LP, XO Media,
        LLC, Direct Document Solutions, LP, Docs Done Right, LP, Docu Prep Center, Inc.,
        M&R Partners, LLC, TDK Enterprises, LLC, Cre8labs, Inc., Sales Speek, Inc., Secure
        Preparation Services, LP, Certified Doc Prep Services, LP, Document Preparation
Case 2:20-cv-06587-SB-ADS Document 87-1 Filed 11/16/21 Page 8 of 8 Page ID #:687




       Services, LP, Clarity Solutions Center, LLC, and Unified Document Services, LLC.

    19. “VAN LOON” means and refers to the defendant in this case, Mikael Van Loon.

    20. “YOU,” “YOUR,” or “SALES SPEEK” means Sales Speek, Inc., whose principal place
        of business is located at 26631 Cuenca Dr., Mission Viejo, CA 92691, and for the
        purposes of this discovery includes any of its present or former directors, managers,
        employees, agents, corporate parents, subsidiaries, divisions, subdivisions, affiliates,
        predecessors, successors, or joint ventures.
